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                         UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

  CIN-Q AUTOMOBILES, INC., et al.,  )
                                    )
                        Plaintiffs, )
      v.                            )                 Case No. 8:13-cv-01592-AEP
                                    )
  BUCCANEERS LIMITED                )            Magistrate Judge Anthony E. Porcelli
  PARTNERSHIP and JOHN DOES 1-10, )
                                    )
                       Defendants. )


          MOTION TO COMPEL AND INCORPORATED MEMORANDUM
         OF LAW OF DEFENDANT BUCCANEERS LIMITED PARTNERSHIP


                                                                Date: December 5, 2019


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          Defendant Buccaneers Limited Partnership (“BLP”), through its counsel, respectfully

  moves this Court for an order compelling Plaintiff Medical & Chiropractic Clinic, Inc.

  (“M&C”) to provide on an expedited basis access to the record (including deposition

  transcripts and written discovery) in Medical & Chiropractic Clinic, Inc. v. Oppenheim, et

  al., No. 8:16-cv-01477-CEH (M.D. Fla.) (“M&C”), wherein M&C is also a plaintiff. In

  support of this motion, BLP states as follows:

                                    I.      INTRODUCTION

          The adequacy of Plaintiffs M&C and Cin-Q Automobiles, Inc. (“Cin-Q”)

  (collectively, “Plaintiffs”) and their counsel is now front and center in this case. Intervenors

  Technology Training Associates, Inc., Larry F. Schwanke, D.C. d/b/a Back to Basics Family

  Chiropractic, Barewood Outlet, Inc., Thomas Savino d/b/a WebRX Pharmacy Palace and

  RxPalace.com and Meryman Environmental, Inc. (“Intervenors”) have moved to intervene,

  challenging the adequacy of Plaintiffs and their counsel to represent the interests of

  Intervenors as well as the rest of the class. BLP and Plaintiffs are, in turn, scheduled to

  respond to that motion on December 6, 2019, and given the ruling of the Eleventh Circuit in

  Technology Training Assocs., Inc., et al. v. BLP, No. 17-11710 (11th Cir.) (the “TTA

  Appeal”), we respectfully submit it is clear that Intervenors should be allowed to intervene in

  this action.

          Once intervention has occurred, a motion for appointment of interim class counsel

  under Fed. R. Civ. P. 23(g) will inevitably be filed by Plaintiffs’ counsel and/or Intervenors’

  counsel, at which point the adequacy of Plaintiffs’ counsel will again be front and center and

  the Court will finally have an opportunity to decide which counsel can and will act in the best
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  interests of the class. It is important for the Court, however, to have access to a complete

  record on adequacy for purposes of the pending motion to intervene as well as the

  forthcoming motion for appointment of interim class counsel, and ensuring that record is

  available to the Court is the purpose of this motion.

         In spite of what is now before the Court, M&C and its counsel have refused to

  consent to BLP having access to evidence relevant to the issue of adequacy. In June of 2016,

  M&C filed suit against David Oppenheim and Intervenors’ counsel at the Bock, Hatch,

  Lewis, & Oppenheim, LLC law firm (“Bock Hatch”), all in an effort to derail any settlement

  and prevent Bock Hatch from serving as class counsel in Technology Training Assocs., Inc.,

  et al. v. BLP, No. 8:16-cv-01622-AEP (M.D. Fla.) (“TTA”). M&C, however, was apparently

  fully funded by the Wanca firm, such that the Wanca firm may have violated applicable

  ethics rules, an issue that is presently before the Eleventh Circuit.

         Moreover, while Judge Honeywell ultimately granted full summary judgment in favor

  of Mr. Oppenheim and Bock Hatch in M&C, she did so only after an extensive record was

  developed in M&C of written and oral evidence, including (in particular) a substantial body

  of evidence pertaining to the conduct of Plaintiffs’ counsel during settlement negotiations in

  this case. While M&C, the Wanca firm and Bock Hatch all have access to the record in

  M&C, BLP does not.

         The public filings in M&C, however, indicate that the record in M&C is replete with

  relevant evidence relating to the funding by the Wanca firm of the M&C action, demands for

  excessive attorneys’ fees by Plaintiffs’ counsel in this case, self-dealing and repeated refusals

  to act in the best interests of Intervenors and the rest of the class. Because this evidence




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  speaks directly to whether M&C and Plaintiffs’ counsel are adequate to represent Intervenors

  and the proposed class here, the Court should compel M&C to provide BLP on an expedited

  basis with access to the record in M&C, so that the issue of adequacy can be promptly

  decided by the Court.

                                 II.      FACTUAL BACKGROUND

          The factual background pertinent to this motion is set forth below. See disc. infra at

  3-9.

         A. The Adequacy Of Plaintiffs And Their Counsel Is Very Much In Dispute

          The record in this case already establishes that Plaintiffs and their counsel have not

  acted in the best interests of the class and have instead insisted on settlement structures that

  would work to the disadvantage of the class, while ensuring an exorbitant fee to Plaintiffs’

  counsel. See CinQ+MC000458 (TTA Dkt. 148-2 at 72) (insisting on “fund of about $92M,

  where [BLP] could expect to pay about $32M,” of which $23 million would be attorneys’

  fees);1 CinQ+MC000451 (TTA Dkt. 148-2 at 60) (refusing to disclose lodestar of Plaintiffs’

  counsel); CinQ+MC000482 (TTA Dkt. 148-2 at 90) (refusing to negotiate further unless BLP

  “put[s] up Capital One money” exceeding $75 million); BLPMediation0000758 (TTA Dkt.

  148-2 at 105) (objecting to settlement conference); BLPMediation0000778 (TTA Dkt. 148-2

  at 107) (opposing Judge Andersen’s request to communicate with the Court regarding the

  1
   The documents cited in this memorandum as “CinQ+MC____” and “BLPMediation____” are Bates numbered
  and were previously submitted as exhibits to the Declaration of Kathleen P. Lally filed in support of BLP’s
  opposition to the motion to decertify filed by Plaintiffs in TTA. See BLP’s Opp’n to Mot. to Decertify (TTA
  Dkt. 148); Lally Decl. (TTA Dkt. 148-2). Although Ms. Lally’s declaration and the exhibits thereto were
  originally filed under seal (see TTA Dkt. 139), the submission was later unsealed and publicly-filed after
  Plaintiffs and Intervenors expressed a preference for the public filing of all submissions. See BLP’s Supp.
  Submission Regarding Sealing of Confidential Documents (TTA Dkt. 149); Feb. 26, 2019 Hr’g Tr. (TTA Dkt.
  157); Order (TTA Dkt. 153).




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  mediation impasse). Plaintiffs’ counsel have likewise made concerted efforts to derail a class

  settlement that the Court preliminarily found in TTA to be fair, reasonable and adequate and

  to be “on par with or greatly exceed[ing] prior TCPA settlements” in terms of the benefits

  conferred to the class. See Order (TTA Dkt. 56) at 34. As a result, Intervenors have moved

  to intervene in this case, taking the position that “their interests are not adequately

  represented” by Plaintiffs and their counsel. See Mot. to Intervene (Dkt. 258) at 2. That

  motion is now pending before the Court. See Nov. 19, 2019 Hr’g Tr., Ex. 1 hereto, at 29:24-

  30:10 (ordering responses filed by December 6, 2019 and reply filed by December 13, 2019).

          Intervenors argue in their motion that “Cin-Q’s counsel have demonstrated their

  inadequacy by holding the class(es) hostage to Wanca’s quest for record attorney fees

  through a reversionary, claims-made settlement.” See Mot. to Intervene (Dkt. 258) at 3.

  Intervenors further state that Plaintiffs’ counsel have “attempted to prevent the approval of a

  fair, reasonable, and adequate class settlement, including by bankrolling . . . one of the Cin-Q

  plaintiffs [i.e., M&C] that unsuccessfully sought to enjoin TTA’s chosen counsel from

  representing TTA.”2 See id. at 2. And the Court has indicated that the issue of adequacy and

  the question of who is best suited to represent the class should be decided as soon as possible

  and preferably before the interests of absent class members are further prejudiced by actions
  2
    As the Court is aware, Judge Honeywell granted full summary judgment on August 3, 2018 to Mr. Oppenheim
  and Intervenors’ counsel on each of the claims brought by M&C and the Wanca firm, concluding M&C could
  not establish any element of its several claims. See M&C v. Oppenheim, 2018 WL 3707836, at *8-15 (M.D.
  Fla. 2018). M&C then appealed that decision on September 4, 2018, and oral argument was held before the
  Eleventh Circuit on August 20, 2019. See Oral Argument Recording, M&C v. Oppenheim, No. 18-13714 (11th
  Cir., Aug. 20, 2019), available at http://www.ca11.uscourts.gov/oral-argument-recordings?title=18-13714&
  field_oar_case_name_value=&field_oral_argument_date_value%5Bvalue%5D%5Byear%5D=&field_oral_argu
  ment_date_value%5Bvalue%5D%5Bmonth%5D=. A decision by the Eleventh Circuit is expected soon. See
  U.S. Courts of Appeals Federal Court Management Statistics (Sept. 30, 2019), available at https://www.
  uscourts.gov/sites/default/files/data_tables/fcms_na_appsumary0930.2019.pdf (average time for disposition of
  appeals in the Eleventh Circuit is 7.7 months).




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  taken in the interim unilaterally by Plaintiffs’ counsel. See Nov. 19, 2019 Hr’g Tr., Ex. 1

  hereto, at 30:15-18; id. at 33:11-14 (indicating intention to “expedite the rulings on this case”

  vis-à-vis the pending motion to intervene and the selection of class counsel).

                        B. The M&C Case Further Indicates The Inadequacy
                                  Of M&C And The Wanca Firm

          On June 1, 2016, M&C initiated M&C against Bock Hatch and Mr. Oppenheim. See

  Compl. (M&C Dkt. 2). M&C sought to enjoin Intervenors’ counsel from representing any

  party in connection with the subject matter of this action or engaging in any settlement

  negotiations with BLP.3 See id. at 16.

          The public filings in M&C, however, reflect the fact that the record in that litigation

  is highly relevant to the adequacy of M&C and its counsel in this case for at least two

  independent reasons: (1) the Wanca firm apparently fully funded M&C on behalf of its client

  M&C, raising questions about violations of legal ethics and adequacy of representation; and

  (2) the parties in M&C took extensive discovery regarding the settlement negotiations in this

  case, which directly relate to whether M&C and its counsel have been proceeding in the best

  interests of Intervenors and the proposed class. See disc. infra at 10-18.

                   1.    The Wanca Firm Was And Is Fully Funding The M&C
                          Case, Raising Both Ethical And Adequacy Concerns

          In briefing before the Eleventh Circuit, the appellees in M&C cite evidence to support

  their argument that “Wanca instigated the filing of [M&C], agreeing to pay M&C’s attorney

  3
    Yet another suit was initiated by the Wanca firm against Mr. Oppenheim and perhaps Bock Hatch, viz. Wanca
  v. Oppenheim, No. 2017CH08373 (Circuit Court of Cook County, Illinois), Ex. 2 hereto. Materials on the
  docket of that case do not appear to be publicly available, and accordingly, BLP knows less about the case
  itself. But Mr. Good raised the case in his November 25, 2019 letter, and BLP has requested the record from
  that case as well. See Nov. 25, 2019 Corresp. fr. R. Good to M. Mester, Ex. 3 hereto; Nov. 30, 2019 Corresp.
  fr. M. Mester to R. Good, Ex. 4 hereto.




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  fees and expenses without recourse” and that “[b]ut for Wanca’s funding, M&C could not

  and would not have filed” the action. See, e.g., Appellees’ Br., M&C v. Oppenheim, No. 18-

  13714 (11th Cir., Mar. 22, 2019), at 27.4 Mr. Wanca, in turn, apparently testified in M&C

  that he is “financing” M&C’s pursuit of litigation against Intervenors’ counsel in order to

  prevent any settlement between TTA and BLP.5 See id. at 28; see also id. at 28-30.

           This evidence standing alone raises serious ethical questions as well as further doubts

  as to the adequacy of the Wanca firm to represent Intervenors and the rest of the class.6 See

  disc. infra at 12-15. The entirety of the record, however, is not available to BLP or this Court,

  and thus, BLP cannot fully assess, inter alia, the degree to which the funding by the Wanca

  firm of M&C further undermines the ability of M&C and the Wanca firm to adequately

  represent the proposed class here. See, e.g., Docket Entry, M&C v. Oppenheim, No. 18-


  4
    A motion to disqualify M&C’s counsel in M&C was denied by Magistrate Judge Tuite after Judge Honeywell
  had granted summary judgment to Bock Hatch and Oppenheim. See Order (M&C Dkt. 223). In briefing on
  that motion, M&C apparently took the position that the Wanca firm had a “unified interest” with M&C and that
  in fact, the Wanca firm was “M&C’s co-client.” See id. at 9. The question of whether the Wanca firm violated
  applicable ethical rules in funding M&C, however, was ultimately not reached, as Magistrate Judge Tuite
  concluded Bock Hatch lacked standing to bring the motion and had waited too long in doing so. See id. at 20
  (“In this case, the Court need not decide if Foley has engaged in the alleged rule violations . . .”).
  5
    How it can possibly be appropriate or in the best interests of the class for one set of lawyers seeking to
  represent a class to file suit against a second set of lawyers and to seek to enjoin that second set of lawyers from
  representing the class is but one of several issues that will need to be addressed in the context of Rule 23(g).
  See Fed. R. Civ. P. 23(g)(1)(B) (“In appointing class counsel, the court may consider any other matter pertinent
  to counsel’s ability to fairly and adequately represent the interests of the class.”) (emphasis supplied). It is even
  less clear, however, how it can be appropriate or in the best interests of the class for the first set of lawyers to
  affirmatively take steps to prevent the Court presiding over two competing cases brought on behalf of that class
  to preside over or have access to the record in the case brought by the first set of lawyers against the second set,
  and the fact that Plaintiffs and their counsel have concealed and seek to continue to conceal that record is
  worthy of note. See Kaplan v. Pomerantz, 132 F.R.D. 504, 511 (N.D. Ill. 1990) (finding counsel inadequate
  because they “should have made defendants aware of the true facts” and “their comments during the depositions
  reveal an intent to keep the truth hidden . . .”).
  6
    Among other things, Rule 4-1.8(e) of the Florida Rules of Professional Conduct specifies that a lawyer is
  prohibited from providing financial assistance to a client in connection with pending or contemplated litigation
  (with exceptions not relevant here), and Rule 1.8(e) of the Illinois Rules of Professional Conduct contains a
  similar prohibition. See R. Regulating Fla. Bar 4-1.8(e); Ill. R. Prof’l Conduct R. 1.8(e).




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  13714 (11th Cir., Jan. 22, 2019) (referencing “Sealed Envelope”); Certificate of Readiness of

  Record on Appeal (M&C Dkt. 239) at 1 (referencing “1 Sealed Volume of Pleadings”).

    C. The Record In M&C Also Contains Considerable Evidence Of The Motivations
       Of M&C And Plaintiffs’ Counsel During Settlement Negotiations In This Case

          In initiating M&C, M&C put directly at issue the conduct of M&C and Plaintiffs’

  counsel during settlement negotiations before Judge Andersen in this case. See, e.g., Compl.

  (M&C Dkt. 2) at ¶¶ 17-40 (setting forth allegations relating to settlement negotiations in Cin-

  Q). The parties in M&C then apparently developed an extensive record relating to the

  conduct of Plaintiffs’ counsel and M&C in settlement negotiations in this case. See disc.

  supra at 5.

          The summary judgment briefing outlines a clear dispute among the parties in M&C

  regarding the conduct during and after settlement negotiations in this case. See, e.g., M&C’s

  Mot. for Partial Summ. J. (M&C Dkt. 142) at 2, 5-8; M&C’s Opp’n to Defs.’ Mot. for

  Summ. J. (M&C Dkt. 149) at 4, 7, 11-12. In its summary judgment papers in M&C, for

  example, M&C cited deposition transcripts and documentary evidence in support of its

  assertion that it “expended a significant amount of time and resources attending mediations

  and depositions in the Cin-Q Action,” that “Oppenheim shared confidential and mediation

  privileged information with Bock Hatch in a series of emails” and that “Oppenheim disclosed

  to Bock Hatch that the Cin-Q Action Plaintiffs were seeking a settlement above $75 million.”

  See, e.g., M&C’s Statement of Undisputed Material Facts (M&C Dkt. 141) at ¶¶ 8, 31, 32;

  see also id. at ¶¶ 9-18, 30, 33.

          In their redacted opposition brief on summary judgment, the defendants in M&C

  similarly refer to documents, deposition transcripts and other evidence relating to the




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  settlement negotiations in this case and M&C’s strategy in seeking settlement. See, e.g.,

  Defs.’ Mot. for Summ. J. (M&C Dkt. 144) at 4-6, 8, 21. M&C also “produced certain

  documents that the parties identified as containing mediation privilege” and that the Court

  ruled could not be clawed back. See M&C’s Opp’n to Defs.’ Mot. for Summ. J. (M&C Dkt.

  149) at 7; Order (M&C Dkt. 161) at 4 (holding that “allowing Plaintiff to claw back these

  documents is fundamentally unfair in the circumstances presented”), affirmed in part and

  overruled in part by, Order (M&C Dkt. 220). While this evidence is clearly relevant to

  whether Plaintiffs and their counsel acted in the best interests of the class during settlement

  negotiations in this case or whether (as would appear to be the case) Plaintiffs’ counsel

  instead focused on seeking exorbitant attorneys’ fees and “setting a record” for TCPA class

  actions, BLP does not have access to the complete record in M&C. See, e.g., Certificate of

  Readiness of Record on Appeal (M&C Dkt. 239) (noting portion of record under seal); see

  also Sealed Documents (M&C Dkt. 158); Sealed Documents (M&C Dkt. 159); Sealed

  Document (M&C Dkt. 164).

         The parties in M&C similarly set forth their disputed versions of events surrounding

  the Cin-Q settlement negotiations in their briefing before the Eleventh Circuit, following

  Judge Honeywell’s granting of summary judgment to Bock Hatch and Mr. Oppenheim and

  her denial of summary judgment to M&C. See, e.g., Appellant’s Br., M&C v. Oppenheim,

  No. 18-13714 (11th Cir., Jan. 16, 2019), at 4-8; Appellees’ Br., M&C v. Oppenheim, No. 18-

  13714 (11th Cir., Mar. 22, 2019), at 11-22, 35-36. An issue discussed in the appellate

  briefing, for example, is whether counsel in this case “demanded excessive attorney fees”

  during settlement negotiations in Cin-Q. See, e.g., Appellees’ Br., M&C v. Oppenheim, No.




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  18-13714 (11th Cir., Mar. 22, 2019), at 12; see also id. at 13. The entire appellate record,

  however, is not publicly available, and accordingly, BLP cannot access this evidence nor is it

  presently available to this Court.7 See Docket Entry, M&C v. Oppenheim, No. 18-13714

  (11th Cir., Jan. 22, 2019) (referencing “Sealed Envelope”); see also Certificate of Readiness

  of Record on Appeal (M&C Dkt. 239) at 1.

                          D. BLP Requests Access To The Record In M&C

           Shortly after the November 19, 2019 hearing before the Court, BLP requested access

  to the record in M&C, including deposition transcripts and other materials not available in

  the public record. See Nov. 23, 2019 Corresp. fr. M. Mester to R. Good & J. Piper, Ex. 5

  hereto. In keeping with the process utilized in TTA, however, and mindful of the Court’s

  desire to expedite consideration of the pending motion to intervene and appointment of

  interim class counsel, BLP requested access as soon as possible. See id. Plaintiffs and their

  counsel nonetheless objected to BLP’s request and refused to provide access, necessitating

  the filing of this motion. See Nov. 25, 2019 Corresp. fr. R. Good to M. Mester, Ex. 3 hereto;

  Nov. 30, 2019 Corresp. fr. M. Mester to R. Good, Ex. 4 hereto.

                             III.     CERTIFICATION OF CONFERRAL

           Counsel for BLP have conferred with Plaintiffs’ counsel and Intervenors’ counsel in a

  good faith effort to resolve the issues raised by this motion. See Nov. 23, 2019 Corresp. fr.

  M. Mester to R. Good & J. Piper, Ex. 5 hereto; Nov. 25, 2019 Corresp. fr. R. Good to M.


  7
   Had M&C and the Wanca firm consented to Your Honor presiding over M&C, then this Court would
  obviously be much more familiar with the record in M&C and would be able to view that record in the context
  of the Court’s duties to the class in this case. See Defs.’ Mot. for Transfer of Related Case (M&C Dkt. 16) at 1.
  But M&C would not consent, and therefore, the record in M&C is largely unavailable at present to this Court as
  well as BLP. See Order (M&C Dkt. 21) at 1-2.




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  Mester, Ex. 3 hereto; Nov. 30, 2019 Corresp. fr. M. Mester to R. Good, Ex. 4 hereto.8

  Plaintiffs’ counsel, however, have refused to provide the requested documents and

  information to BLP, although they acknowledge that everything is within the possession,

  custody and control of M&C. See Nov. 25, 2019 Corresp. fr. R. Good to M. Mester, Ex. 3

  hereto.9

                                            IV.      ARGUMENT

                                 A. The Scope Of Discovery Is Broad

          Federal Rule of Civil Procedure 26 provides for discovery of “any nonprivileged

  matter that is relevant to any party’s claim or defense.” See Fed. R. Civ. P. 26(b)(1).

  “Information within this scope of discovery,” however, “need not be admissible in evidence

  to be discoverable.” See id. Instead, courts have consistently construed the “relevancy”

  standard of Rule 26 “‘broadly to encompass any matter that bears on, or that reasonably

  could lead to another matter that could bear on any issue that is or may be in the case.’”



  8
    As noted (see disc. supra at 9), BLP requested the record in M&C from Plaintiffs’ counsel and Intervenors’
  counsel shortly after the November 19, 2019 hearing. See Nov. 23, 2019 Corresp. fr. M. Mester to R. Good &
  J. Piper, Ex. 5 hereto. Had Plaintiffs’ counsel not refused to consent to BLP having access to that record, the
  record presumably could have been made available to BLP before Thanksgiving. See Nov. 30, 2019 Corresp.
  fr. M. Mester to R. Good, Ex. 4 hereto, at 1 n.1. Nevertheless, Plaintiffs’ counsel complained of the delay of
  their own making in their November 25, 2019 response to BLP in which they otherwise objected to BLP having
  access to the record. See Nov. 25, 2019 Corresp. fr. R. Good to M. Mester, Ex. 3 hereto. To minimize delay as
  much as possible, however, BLP respectfully requests that the parties be required to respond to this motion in
  seven (7) days (i.e., by December 12, 2019).
  9
    During the meet and confer process, Plaintiffs’ counsel took the position that they should not be required to
  produce the record from M&C to BLP, because discovery in Cin-Q on the class issue has closed. See Nov. 25,
  2019 Corresp. fr. R. Good to M. Mester, Ex. 3 hereto, at 1-2. If M&C or the record in that case had been in
  existence at the time of the discovery cutoff in this case for purposes of the class issue, then BLP would have
  clearly requested it. But inasmuch as the filing of M&C by M&C and the Wanca firm post-dates the close of
  discovery in Cin-Q by over seven months, BLP can scarcely be faulted for not requesting something that did not
  exist. Compare Am. Case Mgmt. Order (Cin-Q Dkt. 190) at 1 (“Class Certification Fact Discovery” cutoff date
  of October 14, 2015), with Notice of Removal (M&C Dkt. 1) at 1 (complaint filed on June 1, 2016 and removed
  to the Middle District of Florida on June 8, 2016).




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  Anglin v. Maxim Healthcare Servs., 2009 WL 928305, at *2 (M.D. Fla. 2009) (citing

  Oppenheimer Fund v. Sanders, 437 U.S. 340, 352 (1978)).

         The overarching purpose of discovery “is to require the disclosure of all relevant

  information so that the ultimate resolution of disputed issues in any civil action may be based

  on a full and accurate understanding of the true facts.” Anglin, 2009 WL 928305, at *2.

  “When discovery appears relevant on its face, the party resisting the discovery has the

  burden” of showing why the discovery is not proper. See Unlimited Res. v. Deployed Res.,

  2009 WL 212188, at *3 (M.D. Fla. 2009). As discussed above and below, however,

  Plaintiffs and their counsel cannot begin to meet that burden. See disc. infra at 18-20.

      B. The Record From M&C Is Highly Relevant And Should Be Made Available

         The full record in M&C is undeniably relevant to the issues now before the Court (as

  is the record in the companion case in Cook County, Illinois), and BLP is entitled to access to

  the record in both cases as is this Court, especially since the issues now before the Court

  directly impact the interests of absent members of the class and because the M&C case itself

  obviously consisted of litigation involving the two firms seeking to be appointed as interim

  class counsel and revolved around the issue of whether either firm was adequate as well as

  which firm could best represent the interests of the class members. See disc. supra at 5-9.

  As the Eleventh Circuit recently reiterated in the TTA Appeal, however, the presumption that

  representation by a plaintiff or counsel is adequate is “weak” in a putative class action. See

  TTA v. BLP, 874 F.3d 692, 697 (11th Cir. 2017). That presumption is easily overcome by

  providing “some evidence” that Plaintiffs and their counsel are not acting in the best interests




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  of Intervenors and the other members of the class. See id. (finding the presumption was

  rebutted “by pointing to emails” between counsel).

         Moreover, Rule 23(g) provides that in appointing interim class counsel, the Court

  should “consider any other matter pertinent to counsel’s ability to fairly and adequately

  represent the interests of the class.” Fed. R. Civ. P. 23(g)(1)(B). To that end, the Court “may

  order potential class counsel to provide information on any subject pertinent to the

  appointment.” Fed. R. Civ. P. 23(g)(1)(C). As discussed in detail below, the record in M&C

  will provide more than “some evidence” that Plaintiffs and their counsel are not adequate,

  and it is plainly “pertinent to [their] appointment.” See disc. infra at 12-18.

            1.   Evidence Of Ethical Violations By Plaintiffs’ Counsel Is Relevant
                  To Their Ability To Adequately Represent The Proposed Class

         Evidence of ethical violations by attorneys who are seeking to act as counsel for a

  proposed class is unquestionably relevant to evaluating their adequacy. See, e.g., Walter v.

  Palisades Collection, 2010 WL 308978, at *10 (E.D. Pa. 2010) (“Prior unethical conduct is a

  relevant consideration pursuant to certification under Rule 23(a)(4).”) (citing Hall v. Midland

  Group, 2000 WL 1725238, at *3 (E.D. Pa. 2000); see also Kornberg v. Carnival Cruise

  Lines, 1985 WL 69, at *2 (S.D. Fla. 1985) (noting that a “showing of improper ethical

  conduct on the part of plaintiffs’ counsel” may render representation inadequate but

  decertifying class on other grounds). “[A] proper respect for ethical duties is obviously

  important in representing a class because class members have limited ability to control

  counsel’s decisions.” Viveros v. VPP, 2013 WL 3733388, at *11 (W.D. Wis. 2013); see

  also, e.g., Kaplan, 132 F.R.D. at 504 (granting motion to decertify because, among other

  reasons, “plaintiff’s counsel was at least a silent accomplice in, and at most encouraged,




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  plaintiff’s false testimony”); Reliable Money Order v. McKnight Sales, 704 F.3d 489, 495

  (7th Cir. 2013) (“[M]isconduct by class counsel that creates a serious doubt that counsel will

  represent the class loyally requires denial of class certification.”) (citation omitted).

           In this case, there is ample reason to review the record in M&C in order to determine

  the degree to which the Wanca firm breached applicable ethical obligations in that case. See

  disc. supra at 5-7. Indeed, there is already substantial evidence that the Wanca firm fully

  funded M&C and that M&C -- its client and also a Plaintiff seeking to represent the class in

  this case -- was propped up by the Wanca firm and otherwise would not have filed M&C, but

  for the urging of and funding by the Wanca firm. See, e.g., Appellees’ Br., M&C v.

  Oppenheim, No. 18-13714 (11th Cir., Mar. 22, 2019), at 27.10 The record in M&C would

  further suggest that the Wanca firm is funding M&C in order to preserve its ability to seek

  and obtain an exorbitant fee and without any regard for what is actually in the best interests

  of Intervenors or the rest of the class. See id. at 28-30.

           This evidence, of course, raises serious concerns as to whether the Wanca firm has

  violated its ethical duties in pursuit of its claims against BLP. See, e.g., Defs’ Mot. for

  Summ. J. (M&C Dkt. 144) at 2, 24-25 (alleging maintenance and champerty by the Wanca

  firm in funding M&C); Order (M&C Dkt. 156) at 7 (noting argument regarding “alleged self-
  10
     As such, the record from M&C and the willingness of M&C to allow the Wanca firm to direct the M&C case
  also directly impacts the adequacy of M&C itself to represent Intervenors and the rest of the class. See, e.g.,
  A Aventura Chiropractic Care Ctr. v. BB Franchising, 2015 WL 11051056, at *3 (S.D. Fla. 2015) (noting that
  class representatives must be “capable of controlling or prosecuting the litigation”) (citation and quotations
  omitted); In re Cirrus Logic Sec., 155 F.R.D. 654, 659 (N.D. Cal. 1994) (finding proposed class representative
  inadequate when he “appear[ed] to have ceded control to his lawyers”). Moreover, other courts have found
  irregularities in parties the Wanca firm sought to have serve as representative parties in TCPA class cases. See,
  e.g., A Aventura Chiropractic, 2015 WL 11051056, at *4-5 (finding plaintiff inadequate, because he had ceded
  all control of the case to his attorneys); Physicians Healthsource v. Allscripts Health Sols., 254 F. Supp. 3d
  1007, 1023-27 (N.D. Ill. 2017) (denying class certification due to plaintiff’s “serious credibility problems” and
  noting that “[a]t worst, perjury has been committed”).




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  dealing” by the Wanca firm and violation by that firm of Rule 4-1.8(e) of the Florida Rules

  of Professional Conduct). And it would provide more than “some evidence” that Plaintiffs’

  counsel are not adequate to represent Intervenors or the proposed class here. See, e.g.,

  Walter, 2010 WL 308978, at *10; TTA, 874 F.3d at 697; see also Kornberg, 1985 WL 69, at

  *2; In re Am. Express Anti-Steering Rules Antitrust Litig., 2015 WL 4645240, at *20-21

  (E.D.N.Y. 2015) (disqualifying co-lead class counsel).11 Indeed, such ethical concerns alone

  would readily justify denial of class certification were the Wanca firm allowed to proceed

  with its motion for class certification before the appointment of interim class counsel, which

  is generally disfavored. See, e.g., Viveros, 2013 WL 3733388, at *11 (denying class

  certification in part, because proposed class counsel had previous reprimands for ethical

  violations); Bodner v. Oreck Direct, 2007 WL 1223777, at *2-3 (N.D. Cal. 2007) (denying

  class certification where “[i]t is clear from the record that plaintiff’s counsel, and not

  plaintiff, is the driving force behind this action”); see also, e.g., Michelle v. Arctic Zero, 2013

  WL 791145, at *2 (S.D. Cal. 2013) (noting that interim class counsel should be selected

  before class certification in various situations -- e.g., overlapping or competing class suits

  brought by different sets of lawyers -- to “protect the interests of class members”).12



  11
     Indeed, several courts (including the Seventh Circuit) have questioned the ethics of the Wanca firm. See,
  e.g., Reliable Money Order, 704 F.3d at 491 (questioning the suitability of the Wanca firm as class counsel and
  their compliance with applicable rules of professional responsibility for conduct which gave the Seventh Circuit
  “serious pause.”); Palm Beach Golf Ctr.-Boca v. Sarris, 981 F. Supp. 2d 1239, 1257 n.22 (S.D. Fla. 2013)
  (stating that the solicitation letter of the Wanca firm “most likely violated Florida’s attorney ethics rules”);
  Savanna Group v. Trynex, 2013 WL 66181, at *13-14 (N.D. Ill. 2013) (reserving judgment on the suitability of
  the Wanca firm as class counsel until that firm could prove the propriety of certain actions).
  12
    Relying on the Manual for Litigation, the court in Michelle made clear why the appointment of interim class
  counsel is important for the protection of the interests of the class before decisions are made regarding moving
  for class certification or negotiating a settlement:
                                                                                                        (continued…)




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  Accordingly, the Court should compel M&C to produce the record in M&C, so that BLP and

  ultimately the Court can fully evaluate whether Plaintiffs’ counsel are adequate to represent

  Intervenors and the rest of the class. See disc. supra at 5-7, 11-14.

            2.    Evidence Of Conduct During The Cin-Q Settlement Negotiations Is
                 Likewise Relevant To The Adequacy Of Plaintiffs And Their Counsel
                   To Represent Intervenors And The Rest Of The Proposed Class

          Evidence that M&C or the Wanca firm are not acting in the best interests of

  Intervenors and the rest of the class is also directly relevant to their adequacy to represent the

  proposed class. See, e.g., Fed. R. Civ. P. 23(a)(4) (requiring that “the representative parties

  will fairly and adequately protect the interests of the class”); see also Fed. R. Civ. P.

  23(g)(1)(B) advisory committee’s note to 2003 amendment (“[T]he primary responsibility of

  class counsel . . . is to represent the best interests of the class.”). “[T]he adequacy

  requirement is designed to ensure that those absentees’ interests are protected even in their

  absence.” Mills v. Foremost Ins., 269 F.R.D. 663, 672 (M.D. Fla. 2010); see also Alhassid v.

  Bank of Am., 307 F.R.D. 684, 699 (S.D. Fla. 2015).

          Under the foregoing standard, the record in M&C is clearly relevant to whether

  Plaintiffs and their counsel are putting their own interests ahead of those of Intervenors and

  the proposed class. See disc. supra at 7-9. The record in M&C appears to contain deposition

  testimony, documentary evidence and other materials relating to the approach of Plaintiffs’


     If a number of lawyers compete for class counsel appointment, “designation of interim counsel clarifies
     responsibility for protecting the interests of the class during precertification activities, such as making
     and responding to motions, conducting any necessary discovery, moving for class certification, and
     negotiating settlement.” Manual of Complex Litigation § 21.11.
  Michelle, 2013 WL 791145, at *2; see also, e.g., In re Disposable Contact Lens Antitrust, 2015 WL 10818781,
  at *1 (M.D. Fla. 2015) (“Selection of interim lead counsel facilitates ‘efficiency and economy without
  jeopardizing fairness to the parties’”) (citation omitted).




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  counsel to the settlement negotiations in Cin-Q and, in particular, whether the approach of

  Plaintiffs’ counsel was to prevent a fair, reasonable and adequate settlement for the class and

  instead insist on settlement structures that would result in precedent-setting attorneys’ fees.

  See, e.g., M&C’s Statement of Undisputed Material Facts (M&C Dkt. 141) at ¶ 32;

  Appellees’ Br., M&C v. Oppenheim, No. 18-13714 (11th Cir., Mar. 22, 2019), at 12 (stating

  that Plaintiffs’ counsel “demanded excessive attorney fees” during settlement negotiations in

  Cin-Q).

         While there is already ample evidence in the current record that Plaintiffs’ counsel are

  not adequately representing Intervenors and the proposed class, the continuing relevance of

  the record in M&C was clearly explained to this Court in TTA by an attorney at Bock Hatch

  with access to the M&C record:

         Judge, these materials were produced . . . in the M&C action. They are the
         internal documents of -- primarily the internal documents of the Wanca law
         firm relating to their settlement positions, their reaction, and their plans going
         forward with settlement negotiations. They essentially fill in the pieces of the
         puzzle between the documents that we’re going to be obtaining now that were
         actual settlement communications by and between the parties. And so it
         essentially ends up being the entire puzzle, what was going on in actual
         communications between the plaintiff and the defendant in the Cin-Q action
         and what was leading up to those communications. It ends up leaving no room
         for either correct or incorrect inferences about the actual mediation
         communications, because it provides the information in between.

  Aug. 3, 2018 TTA Hr’g Tr., Ex. 6 hereto, at 16:15-17:5. Although there is already more than

  “some evidence” of the inadequacy of Plaintiffs’ counsel, the Court should nonetheless order

  production of the record in M&C in order to “fill in the pieces of the puzzle” and paint the

  “entire” picture. See id.




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         Indeed, this Court in TTA previously left open the door for production of the M&C

  record. In May of 2018, faced with a motion to intervene by Cin-Q and M&C in TTA, the

  plaintiffs in TTA (Intervenors here) moved to compel settlement communications in Cin-Q

  and discovery from M&C. See Mot. to Compel (TTA Dkt. 109) at 2. Given the context, this

  Court ordered production in TTA of the Cin-Q documents but not the M&C documents. See

  Aug. 3, 2018 TTA Hr’g Tr., Ex. 6 hereto, at 11:17-12:2, 13:24-14:2, 20:3-13. The

  procedural history and the reasoning of this Court in TTA at the time, however, directly

  support production of the M&C record here and now. See disc. infra at 17-18.

         More specifically, the Court rejected the argument made in TTA by Plaintiffs for only

  a “limited amount of discovery” relating to the Cin-Q settlement negotiations and instead

  more broadly ordered production of those documents and communications. See Aug. 3, 2018

  TTA Hr’g Tr., Ex. 6 hereto, at 11:17-12:2, 13:24-14:2. The Court reasoned as follows:

         I do find [the documents] relevant to the Court’s inquiry and it’s difficult for
         me to piecemeal [] determine whether one specific document is relevant or not
         relevant without knowing what’s in the documents themselves and that can be
         simply based upon what’s produced in the discovery.

  Id. at 11:17-12:2. Given the relevance of the M&C record here, the Court should now grant

  production of the entire M&C record for the same reason rather than attempting to undertake

  a burdensome effort to oversee only a “piecemeal” production. See id.; see also Adkins v.

  Christie, 488 F.3d 1324, 1330 (11th Cir. 2007) (information need not be admissible to be

  discoverable).

         Moreover, while the Court did deny in TTA the motion to compel discovery of the

  record in M&C by the plaintiffs in TTA, it did so for reasons that are inapplicable here and

  now. M&C, the Wanca firm and Bock Hatch already had access to the M&C record. See




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  Aug. 3, 2018 TTA Hr’g Tr., Ex. 6 hereto, at 16:15-16, 18:18-21. Only BLP did not have

  access, and at the time, BLP did not move to compel the M&C record given that the

  adequacy of the Wanca firm was not directly at issue in TTA. See BLP Submission (TTA

  Dkt. 108) at 2 (taking no position on motion to compel record in M&C); Order (TTA Dkt.

  169) at 37-38 (noting that the pending motions can be decided without “address[ing] the

  adequacy of Cin-Q Plaintiffs or their Counsel nor the viability of a class action in the Cin-Q

  Action, as neither issue affects the outcome here”). Given BLP’s position and the fact that

  the issue of adequacy was not before the Court in TTA, the plaintiffs in TTA likewise chose

  to not push for a “preemptive production” of the record in M&C. See Aug. 3, 2018 TTA

  Hr’g Tr., Ex. 6 hereto, at 18:18-19:3. On that basis, the Court denied the motion in TTA, but

  importantly, it stated that it would “consider” production of documents from M&C if they are

  needed “to make your arguments before the Court.” See id. at 20:6-8.

         That need now exists. Unlike in TTA, the adequacy of Plaintiffs and their counsel is

  now directly before the Court in this case. See, e.g., Nov. 19, 2019 Hr’g Tr., Ex. 1 hereto, at

  30:15-18. And because the record in M&C is relevant to whether Plaintiffs and their counsel

  have acted in the best interests of Intervenors and the rest of the class, the Court should

  compel production of the entire record in M&C, including all oral and written discovery. See

  disc. supra at 15-18.

                          C. No Legitimate Obstacles Exist To Providing
                             BLP With Access To The Record In M&C

         M&C will face essentially no burden in providing BLP with access to the record in

  M&C, much less an undue burden justifying denial of this motion. See, e.g., Gober v. City

  of Leesburg, 197 F.R.D. 519, 521 (M.D. Fla. 2000) (granting motion to compel and noting




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  that “[t]he party resisting production of information bears the burden of establishing lack of

  relevancy or undue burden in supplying the requested information”). M&C was obviously a

  plaintiff and party in M&C and has admitted as recently as November 25, 2019 that the

  record in M&C is in its possession, custody and/or control. See Nov. 25, 2019 Corresp. fr. R.

  Good to M. Mester, Ex. 3 hereto, at 1 (acknowledging that M&C’s attorneys in M&C “have

  the ‘full record’” from that lawsuit). This, of course, makes sense, given that the M&C case

  remains pending before the Eleventh Circuit. See M&C v. Oppenheim, No. 18-13714 (11th

  Cir.). Thus, beyond a simple file transfer, M&C would face no burden in providing BLP

  with access to the record in M&C. See, e.g., Mackay v. Creative Hairdressers, 2018 WL

  7457849, at *1-2 (M.D. Fla. 2018) (denying motion for protective order against subpoena

  seeking discovery materials in related lawsuit, because there was no undue burden and the

  documents were already in the party’s possession).

          Moreover, while some of the documents may have been produced as confidential and

  subject to a confidentiality order, that order certainly does not prevent this Court from

  directing a party before this Court to provide access to BLP, and BLP has already indicated

  to Plaintiffs’ counsel that it is willing to fully abide by the terms of the existing

  confidentiality order. See Agreed Confidentiality and Protective Order (M&C Dkt. 74-1) at

  ¶ 2. The confidentiality order makes clear that it “shall not be construed or presented as a

  judicial determination that any document or material designated Confidential Information by

  counsel or the parties is entitled to protection . . .” See id. at ¶ 16. It also contemplates that

  documents marked as confidential may need to be produced in other litigation. See id. at

  ¶ 12. And regardless, a document’s confidentiality obviously does not immunize it from




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  discovery under Rule 26. See, e.g., Promotional Mktg. Insights v. Affiliated Computer

  Servs., 2012 WL 3292888, at *1 (D. Minn. 2012) (“[T]he confidentiality of [the requested]

  documents is protected not by denying access to them, but by entering a protective order to

  cover them.”). BLP will, however, treat the M&C record as confidential and is willing to

  receive it on an Attorneys’ Eyes Only basis, as it already represented to M&C, Plaintiffs’

  counsel and Intervenors’ counsel. See Nov. 23, 2019 Corresp. fr. M. Mester to R. Good & J.

  Piper, Ex. 5 hereto.

                                     V.      CONCLUSION

         BLP respectfully requests that this Court require Plaintiffs and their counsel to

  respond to this motion within seven (7) days and that the Court then enter an order

  compelling Plaintiff M&C to provide BLP on an expedited basis with access to the record in

  Medical & Chiropractic Clinic, Inc. v. Oppenheim, et al., No. 8:16-cv-01477-CEH (M.D.

  Fla.), and to direct Plaintiffs’ counsel to provide access to the record in Wanca v.

  Oppenheim, No. 2017CH08373 (Circuit Court of Cook County, Illinois, County Department,

  Chancery Division), including but not limited to deposition transcripts and other written

  discovery in both matters. BLP further requests such other relief as the Court deems

  appropriate.

  Date: December 5, 2019                         Respectfully submitted,

                                                 /s/ Mark S. Mester
                                                 One of the attorneys for Defendant
                                                 Buccaneers Limited Partnership




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 5, 2019, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system. I further certify that I mailed the foregoing

document and the notice of electronic filing by first-class mail to the following non-CM/ECF

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